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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION


SOLOMAN OLUDAMISI AJIBADE, as
natural parent of Mathew Ajibade; ADENIKE
HANNAH AJIBADE, as natural parent of
Mathew Ajibade; THE ESTATE OF
MATHEW AJIBADE; CHRIS OLADAPO, as
executor,

               Plaintiffs,                               CIVIL ACTION NO.: 4:16-cv-82

        v.

JOHN WILCHER, in his official capacity as
Chatham County Sheriff; CORIZON
HEALTH, INC.; GREGORY BROWN;
FREDERICK BURKE; ABRAM BURNS;
MARK CAPERS; MAXINE EVANS;
ANDREW EVANS-MARTINEZ; PAUL
FOLSOME; DEBRA JOHNSON; JASON
KENNY; ERIC VINSON,

               Defendants.


                                          ORDER

        This case arises from the January 2015 death of Mathew Ajibade while in the Sheriff’s

custody at the Chatham County Detention Center (“CCDC”). (Doc. 21.) Ajibade’s parents and

his estate filed this suit against Sheriff John Wilcher, various corrections officers at the CCDC,

Corizon Health, Inc. (“Corizon”) (the company supplying health services at the CCDC at the

time of Ajibade’s death), and Gregory Brown (a nurse on duty at the time of Ajibade’s death).

(Id.)

        The Court has recently issued Orders granting Motions for Summary Judgment filed by

the Sheriff, Lieutenant Debra Johnson, and Officer Andreux Evans-Martinez. The Court has also
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partially granted a Motion for Summary Judgment filed by Officer Maxine Evans and has

reserved ruling on the remaining claims addressed in her Motion for Summary Judgment. 1 The

Motions for Summary Judgment filed by Corizon and Brown, however, remain pending, along

with several motions to exclude the testimony of various experts proposed by various parties.

        Given the multitude of moving parts in this case and the recent dismissal of multiple

Defendants, a temporary stay is appropriate to allow the remaining parties to reassess their case

status and the pending motions in light of the recent summary judgment Orders. Accordingly,

the Court ADMINISTRATIVELY CLOSES and STAYS this case until April 26, 2019. 2 The

Court ORDERS all remaining parties to file a status report (one report for Plaintiffs, one report

for each set of Defendants represented by the same counsel, and one report for each defendant

proceeding without counsel) on or before April 26, 2019. In the report, each party (or set of

parties) shall provide a general update on the status of this case from that party’s perspective.

Each party (or set of parties) shall address their respective positions on the effect, if any, that the

dismissals of Defendants Wilcher, Martinez and Johnson, and the issuance of partial summary

judgment to Defendant Evans should have on the parties’ pending motions and remaining claims

and defenses. Additionally, the parties shall address any efforts that the parties have made to

resolve this matter and whether additional settlement efforts would be productive at this

juncture. 3 The Court DIRECTS the Clerk of Court to ensure that this Order is served on all



1
  Defendant Evans and the Plaintiffs have been ordered to file supplemental briefing as to the remaining
claims addressed in her Motion for Summary Judgment.
2
  This stay, however, does not impact Defendant Evans and Plaintiffs’ obligations and deadlines for filing
supplemental briefs pursuant to the Court’s Order on Evans’s Motion for Summary Judgment.
3
  Given that any settlement discussions may be confidential, the parties may (but are not required to) file
their Status Reports in a restricted manner whereby only the Court and opposing counsel have access to
the Reports. Counsel and any unrepresented parties shall contact Judge Baker’s Courtroom Deputy Clerk,
well in advance of the filing deadline, with any questions regarding how to file the Report in this manner.


                                                    2
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unrepresented Defendants, and those Defendants are specifically advised that they must file a

timely status report.

       SO ORDERED, this 28th day of March, 2019.




                                   R. STAN BAKER
                                   UNITED STATES DISTRICT JUDGE
                                   SOUTHERN DISTRICT OF GEORGIA




                                             3
